Case 2:20-cv-11181-CAS-JPR Document 75-6 Filed 11/23/21 Page 1 of 6 Page ID #:1507




                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                             (;+,%,7
                                         
     Case 2:20-cv-11181-CAS-JPR Document 75-6 Filed 11/23/21 Page 2 of 6 Page ID #:1508




NB170268                                                   Accused garment
     Case 2:20-cv-11181-CAS-JPR Document 75-6 Filed 11/23/21 Page 3 of 6 Page ID #:1509




NB170268                                                   Accused garment
     Case 2:20-cv-11181-CAS-JPR Document 75-6 Filed 11/23/21 Page 4 of 6 Page ID #:1510




NB170268                            Accused garment
     Case 2:20-cv-11181-CAS-JPR Document 75-6 Filed 11/23/21 Page 5 of 6 Page ID #:1511




NB170268                                                   Accused garment
     Case 2:20-cv-11181-CAS-JPR Document 75-6 Filed 11/23/21 Page 6 of 6 Page ID #:1512




NB170268
                   Accused garment
